     2:17-cv-02368-DCN           Date Filed 09/02/17            Entry Number 1   Page 1 of 12




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION


                                                                           2:17-cv-02368-DCN
                                                        Civil Action No.: __________________
Justin Hurst, On Behalf of Himself and All
Others Similarly Situated,
                                                        COLLECTIVE ACTION COMPLAINT
Plaintiff,                                                (Jury Trial Requested)

v.

SSA Cooper, LLC,

Defendants.




             Plaintiff Justin Hurst, individually and on behalf of all other similarly situated

 individuals, as his Complaint in the above-captioned matter, alleges and shows unto this

 Honorable Court the following:

                                      NATURE OF CLAIM

             1.     This is an action for violations of unpaid overtime provisions of the Fair

 Labor Standards Act, 29 U.S.C. §201, et seq, (FLSA).

             2.     Plaintiff brings this action as a collective action pursuant to 29 U.S.C.

 §216(b), individually and on behalf of other similarly situated Stevedores employed by the

 Defendant who suffered damages because of Defendant’s violations of the FLSA.

             3.     Plaintiff also brings individual and class claims for unpaid wages under the

 South Carolina Payment of Wages Act, S.C. Code Ann § 41-10-10, et seq. (SCPWA)




                                                Complaint
                                         Hurst v. SSA Cooper LLC.,
                                               Page 1 of 12
  2:17-cv-02368-DCN         Date Filed 09/02/17             Entry Number 1   Page 2 of 12




                      PARTIES, JURISDICTION AND VENUE

       4.      Plaintiff Justin Hurst is a citizen and a resident of Berkeley County, South

Carolina.

       5.      Defendant, SSA Cooper LLC, is a for-profit corporation, registered with the

South Carolina Secretary of State.

       6.      Venue is proper in this District because the Defendant has conducted

substantial, continuous and systematic commercial activities in Charleston. Additionally,

the unlawful labor practices and policies giving rise to Plaintiff’s claims were committed

in the Charleston Division of this Court.

       7.      Plaintiff brings this action, individually and as an opt-in collective action

pursuant to 29 U.S.C. § 216(b), on behalf of a class of similarly situated Stevedores who

worked in excess of forty (40) hours during certain workweeks without receiving overtime

compensation during the last three years.

       8.      This Court has jurisdiction of the Plaintiff’s claims brought under the FLSA

pursuant to 28 U.S.C. § 1331, and 29 U.S.C. § 216 (b).

       9.      In addition, this Court has supplemental jurisdiction, pursuant to 28 U.S.C.

§ 1367 over Plaintiff’s pendent claims, which are brought pursuant to the statutory and

common law of the State of South Carolina, because those claims arise out of the same

transaction or occurrence as the federal claims alleged herein.

       10.     Plaintiff also brings this action individually and as an opt-out class action

under Rule 23 of the Federal Rules of Civil Procedure, on behalf of a class of all Stevedores

employed by Defendants in at any time within the three years prior to the commencement

of this lawsuit who were not paid all of their wages as required by state and federal law.


                                            Complaint
                                     Hurst v. SSA Cooper LLC.,
                                           Page 2 of 12
  2:17-cv-02368-DCN          Date Filed 09/02/17            Entry Number 1     Page 3 of 12




       11.     Upon information and belief, this action satisfies the requirements of Rule

23(a), Fed. R. Civ. P., as alleged in the following particulars:

       a.      The proposed Plaintiff’s class is so numerous that joinder of all individual

       members in this action is impracticable;

       b.      There are questions of law and/or fact common to the members of the

       proposed Plaintiff’s class;

       c.      The claims of Plaintiff, the representative of the proposed Plaintiff’s

       class, are typical of the claims of the proposed Plaintiff class; and

       d.      Plaintiff, the representative of the proposed Plaintiff’s class, will fairly and

       adequately protect the interests of the class.

       12.     In addition, upon information and belief, this action satisfies one or more of

the requirements of Rule 23(b), Fed. R. Civ. P., because the questions of law and/or fact

common to the members of the proposed Plaintiffs class predominate over any questions

affecting only individual members, and a class action is superior to other available methods

for the fair and efficient adjudication of the controversy.

       13.      This Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367

over Plaintiff’s pendent claims, which are brought pursuant to the law of the State of South

Carolina, because those claims arise out of the same transaction or occurrence as the federal

claims alleged herein.

                                              FACTS

       14.     Defendant, SSA Cooper, LLC is the world’s largest operator of marine and

rail cargo terminals.     The Defendant provides full-service Stevedores who handle

containers, bulk commodities, paper products, lumber, steel, stuffing and stripping


                                            Complaint
                                     Hurst v. SSA Cooper LLC.,
                                           Page 3 of 12
  2:17-cv-02368-DCN         Date Filed 09/02/17            Entry Number 1   Page 4 of 12




containers on terminals for steamships. The Defendant is paid by the steamship lines to

load and unload cargo.

        15.    Plaintiff Justin Hurst was employed by the Defendant from approximately

August of 2015 until approximately August 2017 as a Stevedore.

        16.    Plaintiff and similarly situated Stevedores are paid a salary.

        17.    Defendant misclassified Plaintiff, and other similarly situated Stevedores at

the Charleston Ports, as exempt from the overtime compensation requirements of the

FLSA.

        18.    Plaintiff’s primary duties consisted of working with employees of the

International Longshoremen’s Association (ILA) with regard to loading and unloading

cargo at the ports in Charleston, South Carolina.

        19.    The Defendant choses individual ILA supervisors who are called

“Headers”. The Header then hires, from the union hall, the ILA members referred to as the

“Gang” he will supervise.

        20.    Plaintiff and similarly situated Stevedores, may direct the work of ILA

gangs by giving them instructions such as: where a particular piece of cargo should be

loaded or unloaded according to the stowage plan, or where the trucks are required to line

up so the crane can loaded and unload cargo. However; the Header, not the Stevedore, has

authority over the ILA members.

        21.    Plaintiff, and other similarly situated Stevedores DO NOT interview or hire

the ILA.

        22.    Plaintiff, and other similarly situated Stevedores DO NOT train the ILA.




                                           Complaint
                                    Hurst v. SSA Cooper LLC.,
                                          Page 4 of 12
  2:17-cv-02368-DCN          Date Filed 09/02/17            Entry Number 1   Page 5 of 12




       23.     Plaintiff, and other similarly situated Stevedores DO NOT set the ILA’s rate

of pay or hours worked.

       24.     The Plaintiff and other similarly situated Stevedores DO NOT have the

authority to fire or discipline the ILA members.

       25.     Plaintiff and other similarly situated Stevedores are bound by the grievance

procedure for disciplining union members as set forth in the ILA’s collective bargaining

agreement.

       26.     The Plaintiff and other similarly situated Stevedores, suggestions and

recommendations as to firing, and disciplining the ILA members they work with, is not

given significant weight or consideration by the Defendant.

       27.     It is a rare occurrence for Plaintiff and other similarly situated Stevedores

to make a recommendation that an ILA worker be disciplined and it is rarer still that their

recommendation is followed.

       28.     In fact, in the two years that Plaintiff was employed by the Defendant he

never knew of an occasion of a Stevedore disciplining an ILA member by sending him

home for the day (which is referred to as “knocking off”) or by any other means.

       29.     The ILA Headers and the Gangs are paid, at least time and half of their

regular rate of pay when they work over forty (40) hours in a work week.

       30.     The Defendant DOES NOT pay Plaintiff and similarly situated Stevedores

one and one-half times their regular rate of pay for all hours worked in excess of forty (40)

in a work week.

       31.     Plaintiff and similarly situated Stevedores regularly work more than forty

(40) hours in a work week.


                                            Complaint
                                     Hurst v. SSA Cooper LLC.,
                                           Page 5 of 12
  2:17-cv-02368-DCN         Date Filed 09/02/17            Entry Number 1   Page 6 of 12




       32.     Plaintiff and similarly situated Stevedores are assigned to work (7) seven

days a week, (24) hours a day.

       33.     Plaintiff and similarly situated Stevedores do not have a set schedule.

       34.     Plaintiff and similarly situated Stevedores receive an email each day

between 5:00 pm and 6:30 pm that lists the Stevedore who are scheduled to work the

following day. The email contains the start time, which varies depending upon the

steamships arrival.

       35.     The email also informs Plaintiff and similarly Stevedores what their work

assignment will be. For instance, they are told whether they will be working a

containership, a breakbulk as well as if they be working on the deck of the ship, the dock

of ship, in the hull of the ship, preparing stow plans, stuffing cargo or working in the

warehouse.

       36.     Plaintiff and similarly situated Stevedores are required to continue to work

until the ship is completely loaded or unloaded. As a result, they can regularly work

between ten (10) and eighteen (18) hours at a time.

       37.     Plaintiff and similarly situated Stevedores regularly work between twenty

(20) to (30) hours of overtime in a work week.

       38.     The position of a Stevedore involves grueling hours, working in extreme

heat, cold, rain and wind. The job is extremely dangerous because it involves working

around heavy equipment, cargo and in high locations. According to the University of

Chicago Health and Sciences Division, the position of Stevedore is included on the

International Hazard Datasheet. http://illinoisinjuryprevention.org/Stevedore.pdf




                                           Complaint
                                    Hurst v. SSA Cooper LLC.,
                                          Page 6 of 12
  2:17-cv-02368-DCN         Date Filed 09/02/17            Entry Number 1   Page 7 of 12




        39.    Defendant did not employ the Plaintiff and similarly situated Stevedores as

seaman.

        40.    The Plaintiff and similarly situated Stevedores did not render aid in the

operation of the vessels as a means of transportation nor did they aid the vessels in

navigation.

        41.    At all times relevant to this Complaint, Plaintiff and similarly situated

Stevedores were non-exempt employees for purposes of overtime compensation provisions

of the FLSA.

        42.    Plaintiff and similarly situated Stevedores, had an employment agreement

with Defendant their compensation would be consistent with all applicable laws, including

state wage laws.

        43.    Plaintiff had an employment agreement with Defendants where he accrued

Paid Time Off (PTO) for the weeks where he worked.

        44.    Plaintiff had earned PTO that he should have been compensated for in his

last paycheck and he was not paid for this time.

        45.    In addition, Defendant deducted amounts from Plaintiff’s similarly situated

Stevedores, wages for PTO during the work weeks when they worked forty (40) hours or

more.

        46.    Defendant had an employment agreement where they paid Plaintiff and

similarly situated employees’ non-discretionary bonuses referred as “Meal Money” when

they worked bench mark number of hours during a shift. For example, if Plaintiff and other

similarly situated Stevedores worked eleven (11) hours in a shift they should have received




                                           Complaint
                                    Hurst v. SSA Cooper LLC.,
                                          Page 7 of 12
  2:17-cv-02368-DCN          Date Filed 09/02/17             Entry Number 1   Page 8 of 12




paid fifty dollars ($50.00) and if they worked fifteen (15) hours in a shift they should have

received an additional fifty dollars ($50.00)

       47.       Defendant did not adequately explain or implement the employment

agreement which resulted in Plaintiff and similarly situated Stevedores regularly NOT

being compensated for their Meal Money when they worked the bench mark number of

hours required for the bonus.

                             FOR A FIRST CAUSE OF ACTION
               (Fair Labor Standards Act–Unpaid Overtime Compensation)
                            (Individual and Collective Action)

       48.       Plaintiff, on behalf of himself and all similarly situated Stevedores,

realleges and incorporates by reference all preceding paragraphs as if they were set forth

herein verbatim.

       49.       At all times pertinent to this Complaint, Defendant was an “enterprise

engaged in commerce or in the production of goods for commerce” as that term is defined

by 29 U.S.C. § 203(s).

       50.       At all times pertinent to this Complaint, Plaintiff and similarly situated

Stevedores were “engaged in commerce or in the production of goods for commerce” as

that term is defined within 29 U.S.C. §207.

       51.       At all times relevant herein, Defendant was the “employer” of Plaintiff and

similarly situated Stevedores as that term is defined by 29 U.S.C. § 203(d) of the Fair Labor

Standards Act.

       52.       Defendant employed Plaintiff and similarly situated Stevedores for

workweeks longer than forty (40) hours without compensating Plaintiff and similarly




                                             Complaint
                                      Hurst v. SSA Cooper LLC.,
                                            Page 8 of 12
  2:17-cv-02368-DCN          Date Filed 09/02/17             Entry Number 1   Page 9 of 12




situated Stevedores at a rate of one and on-half times their regular rate of pay as required

by 29 U.S.C. § 207(a).

       53.     Plaintiff and similarly situated Stevedores are entitled to unpaid overtime

compensation at the rate of one-and-a-half times their regular rate of pay for all hours

worked in excess of forty (40) hours in a workweek, liquidated damages in an equal

amount, and their reasonable attorneys’ fees and costs incurred in bringing this action

pursuant to 29 U.S.C. § 216(b).

       54.     Defendant’s violations of the FLSA were willful.

                          FOR A SECOND CAUSE OF ACTION
                           (South Carolina Payment of Wages Act)
                                (Individual and Class Action)

       55.     Plaintiff, on behalf of himself and all similarly situated Stevedores,

realleges and incorporate by reference all preceding paragraphs as if they were set forth

herein verbatim.

       56.     Defendant is an “employer” as defined by S.C. Code Ann. § 41-10-10(1).

       57.     Defendant employed Plaintiff and the members of the Plaintiff’s class

within the State of South Carolina.

       58.     According to § 41-10-80(C), when an employer separates an employee

from the payroll for any reason, the employer shall pay all wages due to the employee

within forty-eight hours of the time of separation or the next regular pay day which may

not exceed thirty days.

       59.     S.C. Code Ann § 41-10-10(2) defines wages to means “all amounts at

which labor rendered is recompensed . . . and includes vacation, holiday, and sick leave




                                             Complaint
                                      Hurst v. SSA Cooper LLC.,
                                            Page 9 of 12
 2:17-cv-02368-DCN          Date Filed 09/02/17             Entry Number 1   Page 10 of 12




payments which are due to an employee under any employer policy or employment

contract.”

          60.   Defendant owes Plaintiff and the members of the Plaintiff’s class “wages”

as defined in Section 41-10-10(2) of the Act, to compensate them for labor rendered to

Defendants, as promised to Plaintiff and the members of the Plaintiff’s class and as required

by law.

          61.   Defendant failed to pay Plaintiff and the members of the Plaintiff’s class all

wages due, as required by Sections 41-10-40 and -50 of the Act in the Defendant failed to

pay Plaintiff and members of Plaintiffs class for the accrued PTO and Meal Monies as per

their employment agreement.

          62.   In addition, Defendant deducted amounts from the paychecks of Plaintiff

for PTO during the work weeks when Plaintiff and similarly situated Stevedores worked

forty (40) hours or more. This was an improper purpose, upon false pretenses, and without

providing proper written notice as required by Section 41-10-30(A) of the SCPWA.

          63.   Defendant’s failure to pay Plaintiff and the members of the Plaintiff’s class

all wages due is willful, without justification, and in violation of the duty of good faith and

fair dealing.

          64.   Pursuant to Section 41-10-80(C) of SCPWA, Plaintiff and the members of

the Plaintiff’s class are entitled to recover an amount equal to three times the full amount

of their unpaid wages, or their wrongfully deducted wages, plus costs and reasonable

attorney’s fees.




                                             Complaint
                                      Hurst v. SSA Cooper LLC.,
                                            Page 10 of 12
 2:17-cv-02368-DCN         Date Filed 09/02/17            Entry Number 1   Page 11 of 12




                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Justin Hurst, on behalf of himself and similarly situated

Stevedores, seek judgment against the Defendant as follows:

   a. That this Court certify this action as a collective action pursuant to

       29U.S.C.§216(b);

   b. An award of compensatory damages in an amount equal to the unpaid overtime

       compensation owed to Plaintiff and similarly situated Stevedores pursuant to 29

       U.S.C. §216(b);

   c. An award of liquidated damages in an amount equal to the award of compensatory

       damages pursuant to 29 U.S.C. § 216(b);

   d. An order certifying a class action under Rule 23 of the Federal Rules of Civil

       Procedure to remedy the class-wide violations of the South Carolina Payment of

       Wages Act;

   e. An award of compensatory damages in the amount of the unpaid wages owed to

       Plaintiff and similarly situated Stevedores;

   f. An award of treble damages pursuant to the South Carolina Payment of Wages Act;

   g. An award of the reasonable attorneys’ fees and costs incurred by Plaintiff and

       similarly situated Stevedores in bringing this action; and

   h. All such further relief as the Court deems just and equitable.

                                  JURY DEMANDED

       Plaintiff Justin C. Hurst on behalf of himself and all other similarly situated

Stevedores hereby demand a trial by jury.




                                           Complaint
                                    Hurst v. SSA Cooper LLC.,
                                          Page 11 of 12
2:17-cv-02368-DCN   Date Filed 09/02/17          Entry Number 1   Page 12 of 12




                             Respectfully submitted,



                             s/ Marybeth Mullaney
                             Marybeth Mullaney (Fed. ID No. 11162)
                             Mullaney Law
                             1037-D Chuck Dawley Blvd, Suite 104
                             Mount Pleasant, South Carolina 29464
                             (800) 385-8160 Phone and Fax
                             marybeth@mullaneylaw.net

                             Attorney for Plaintiff


                             September 2, 2017
                             Mount Pleasant, South Carolina.




                                  Complaint
                           Hurst v. SSA Cooper LLC.,
                                 Page 12 of 12
